Case 1:23-cv-00108-LMB-JFA Document 1020 Filed 07/26/24 Page 1 of 2 PageID# 75075




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION


  United States, et al.                                         Civil Action No. 1:23-cv-00108-LMB-JFA

                      Plaintiffs,

          vs.

  Google LLC

                      Defendant.


                      NON-PARTIES MICROSOFT CORPORATION
                 AND XANDR INC.’S OBJECTIONS AND MOTION TO SEAL

          Pursuant to Local Civil Rule 5(C), non-parties Microsoft Corporation and Xandr Inc.

  (together, “Microsoft”) and the Court’s June 24, 2024 Order (Dkt. 871), through undersigned

  counsel, respectfully objects to the public disclosure of certain potential trial exhibits identified

  to Microsoft by party counsel and moves this Court for an order granting this motion to seal

  Microsoft’s competitively sensitive and non-public information. Microsoft seeks leave to file

  certain sealed exhibits to the Declaration of Allen R. Davis in Support of Non-Parties Microsoft

  Corporation and Xandr Inc.’s Objections and Motion to Seal. Consistent with the local rule and

  this Court’s Electronic Case Filing Policies and Procedures, undersigned counsel have filed the

  materials at issue using the sealed filing event on CM/ECF and hereby certify that they will

  deliver a copy to this Court in a separate container labeled “UNDER SEAL.” The grounds for

  the objections and this motion are contained in the memorandum of law concurrently filed in

  support. A proposed order is attached for the Court’s convenience.
Case 1:23-cv-00108-LMB-JFA Document 1020 Filed 07/26/24 Page 2 of 2 PageID# 75076




  Dated: July 26, 2024             Respectfully submitted


                                   /s/ Craig G. Falls________________
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